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                                                      Via ECF
January 18, 2022

Chief Magistrate Judge Joseph C. Spero
U.S.D.C. - NORTHERN DISTRICT OF CALIFORNIA
San Francisco Courthouse, Courtroom F – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

         Re:     Kelley, et al. v. AW Distributing, Inc., et al., Case No. 4:20-cv-06942-JSW
Dear Magistrate Judge Spero:
        Plaintiffs Brian Kelley, Robin Kelley, J.O., Judy Schneider and Troy Olver (“Plaintiffs”) and
AW Distributing, Inc. (“AWD”), AW Product Sales & Marketing, Inc. (“AWM”), AW & HO
(Holdings), Inc. (“AW Holdings”), Kennic Ho and Alice Ho (the “AW Defendants”) submit this
Joint Letter Brief Motion to Compel Compliance with Court December 3, 2021 Order re
Plaintiffs’ February 26, 2021 Requests for Production (“RFPs”) and Interrogatories.
   I.    PLAINTIFFS’ STATEMENT
        Plaintiffs’ claims arise out of the deaths of a mother and two children caused when a
man driving high on the AW Defendants’ Ultra Duster (“UD”) foreseeably drove his truck off the
road and into a group of Girl Scouts and their parents. Plaintiffs allege that the AW Defendants
knew about the dangers of intentional inhalation of dust remover spray containing
Difluoroethane (“DFE”) since 2008 and knew that a bitterant designed to prevent abuse was
ineffective, yet have failed to take any action and continue to sell to this day.
       Plaintiffs propounded discovery on the AW Defendants on February 26, 2021 and have
engaged in extensive efforts to obtain basic information over the last 10 months, culminating in
the Court’s December 3, 2021 Discovery Order, which compelled AW to produce documents
and/or information regarding: (1) “profitability, sales volumes, margins and costs on UD and
the OEM version”; (2) alter ego; (3) discovery from eight custodial AW Defendant email
addresses; (4) injuries; and (5) documents from prior litigation (“Greico”). ECF 155.
        As was the case before the December 3, 2021 Order, Plaintiffs have since encountered
more of the same chronic delay and obfuscation. Defendants have disregarded the Order to
produce certain documents by December 3. They disregarded the Order to confer regarding
scope, forcing Plaintiffs to obtain administrative relief to compel the AW Defendants to do what
the Court had already ordered. See ECF 160, 160-1 and 164. Plaintiffs have now brought three
motions on the same subject. Defendants’ argument that Plaintiffs are seeking to informally
expand discovery lacks merit. Plaintiffs wish to complete discovery as efficiently as possible
consistent with the Court’s December 3 Order, and thus seek the relief outlined below.


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         A.      The AW Defendants Have Failed to Search for or Produce Documents from
                 Eight ESI Custodial Addresses (Ordered by January 2), Documents from Prior
                 Litigation (Ordered by January 2) or/or any OEM Injury Related Documents
        When Plaintiffs moved to compel on October 29 (ECF 149) (eight months after
propounding written discovery), the AW Defendants had searched exactly two (2) email
addresses, even though they knew that eight (8) others existed. On December 3, the Court
ordered Defendants to search these custodial accounts and produce documents no later than
January 2. ECF 155. As of January 14, the AW Defendants had not yet scheduled collection
until January 19, with no date certain for production. Respectfully, this is brazen contempt. It
warrants sanctions.
         The AW Defendants similarly have not produced Greico documents also due on January
2, even though they admittedly received them from Florida counsel no later than December 27.
Finally, the AW Defendants have not produced any OEM injury documents (the Court did not
impose a deadline). Counsel informed on January 14 that they are searching for OEM injury
documents and would produce them at some undetermined time. This is unacceptable, where
discovery has been pending for 11 months. Plaintiffs respectfully request that the Court order
production of all of these documents within 14 days, and grant Plaintiffs leave to seek
sanctions, including fees incurred in having to bring now three motions. Cf. ECF 149, 160.
         B.      The Court Should Compel the AW Defendants to Produce Documents Sufficient
                 to Show Sales and Profits from 2013-2019
       On January 13, the AW Defendants stated that ”Sales volumes, costs and margins may
be derived from the bank statements and tax returns” produced in connection with alter ego
discovery. This is more obfuscation. These high-level documents include non-DFE products,
and would not show sales volumes, costs and margins of UD and the OEM. At best, they would
show payments made to Walmart and annual company-wide profitability. On January 14,
Defendants agreed to produce purchase orders and invoices to the extent they exist. Plaintiffs
request that the Court order the production of documents sufficient to show sales volumes of
UD and the OEM version and of margins, prices paid to its suppliers Daiho and ZLT and charged
to customers. If the documents are sparse, all should be produced so Plaintiffs can determine
profitability. If they have been deleted, Defendants should amend responses to so state.
        The parties have a dispute over the time period. Having conferred with counsel on
January 14, Plaintiffs respectfully request documents from 2013-2019 for several reasons.
Unlike alter ego discovery, the Court did not recommend a 3-5 year period for profitability. ECF
160-1 (December 3, 2021 Transcript), at 28:20-21; 35:17-20; cf., id., at 29:14-19 (no express
time limit on profits). The Court’s reasoning regarding a short alter ego time period seemingly
does not apply to profits, where a longer look back is directly tied to motivation and punitive
damages. 1 And, in connection with the Walmart dispute, the Court allowed profits discovery
from 2013 through the present. ECF 136, at Nos. 4 & 6. It makes sense to correlate AW profits
with Walmart profits.


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  Id., at 29:14-19 (“On the pricing method and profitability, profitability is relevant. It's relevant to
motivation. It's relevant to punitive damages. So my tentative thought is that you need to provide sales
volumes, margins, costs, things that show what you made from these products. You can negotiate a
reasonable scope for a period of some period of years.”).
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        Further, Plaintiffs’ tentative agreement to a four-year period was designed to avoid
further delay and made expressly subject to seeking an additional three years from Your
Honor. 2 Finally, there is no undue burden associated with providing information from 2013-
2019. The AW Defendants have already acknowledged in discovery that they estimate selling
“in excess of” 20 million units of UD to Walmart since 2013. Response to Interr. No. 18 (8-12-
2021). Plaintiffs seek documents sufficient to show prices paid to Daiho and charged to
Walmart as to UD, and documents sufficient to show volume and prices paid and charged as to
the OEM version. If the Court is not inclined to allow this limited production from 2013-2019,
Plaintiffs respectfully request that it set the time period from 2016-2019.
         C.      The Court Should Compel the Production of Financial Statements from 2017-
                 2020 and Other Documents from December 14, 2017 – December 14, 2021
         The parties have agreed to four years. The specific four-year period requested is set
forth below. They have a dispute on alter ego scope. On December 3, the Court ordered “alter
ego discovery against all of the … defendants, including bank records and other detailed records
for a limited period of time.” ECF 155. The transcript similarly reflects the Court’s inclination to
allow financial health discovery. ECF 160-1 (December 3, 2021 Transcript), at 35:15-21; 38:20-
25. The underlying request itself broadly calls for all documents and communications related to
transfers of assets or funds.
        On January 13, 2022, some 41 days after the December 3 Order, the AW Defendants for
the first time disclosed (in an email) what they intend to produce: (1) bank account statements;
(2) transfer or loan agreements, if any; (3) property transfers, if any; (4) Form 1120 profit and
loss statements. On January 14, 2022 (having secured a four-year period in December and
having the benefit of knowing what documents exist), counsel declined to discuss any other
documents. On January 18, shortly before this brief was due, counsel emailed stating that the
corporate Defendants do not have quarterly financial statements, but would produce certain
portions of tax returns showing profits and losses (“P&L”) and balance sheets.
        Plaintiffs did not request tax returns during the meet and confer process. We did
request financial statements (which consist of P&L, balance sheets and cash flow statements).
These documents relate to and evidence transfers and speak directly to Defendants’ financial
health. Any legitimate corporation would keep them. They had to be created to generate
Forms 1120. Plaintiffs thus request that the Court order the production of full year financial
statements from 2017-2020 (they apparently do not yet exist for 2021) and the other records
that Plaintiffs agreed to from December 15, 2017 through December 14, 2021. To the extent
that annual financial statements do not exist, Plaintiffs accept Defendants’ offer to produce
Forms 1120, but they should be complete and without redactions, as the forms and schedules
are interrelated and need to be read together. Plaintiffs further request documents sufficient
to show the use of corporate funds for personal use (comingling), as outlined in the motion to
compel. ECF 149, at 2:3-4.

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  ECF 160-1, at 15 (Dec. 16 email) (“Regarding the time frame, the Court did not limit
profits/margins/sales data to 3‐5 years. It previously limited it to 2013‐present.”); id., at 13 (Dec. 21
email) (“We reserve rights to seek an additional time period as per your invitation. Please provide a time
to confer on this additional time period ....”); ECF 160, at 4:11-12 (“On December 21, to avoid further
delay, Plaintiffs tentatively agreed to the AW Defendants’ four-year time period … subject to revisiting if
necessary as per agreement”) (emphasis added).
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  II.    DEFENDANTS’ STATEMENT
        The parties have agreed to limit discovery to specific 4-year periods regarding (A) alter
ego and (B) product profitability- margins, sales volumes and costs, respectively. Subject to
those time periods previously specified by plaintiffs, AW Defendants agreed to produce the
following:
         1. All bank statements for each defendant
         2. Annual profit and loss statements (IRS Form 1120 statements)
         3. All purchase order information in their possession for Ultra Duster and OEM dust
            sprays by AWD and/or AWP to up-stream suppliers
        Regarding category (A), AW defendants will produce all bank records for the agreed
upon time-period and supplement their written response to RFP No. 9, pursuant to the federal
rules. To be clear, RFP No. 9 sought all documents and communications related to “transfers of
assets and/or funds amongst and between” the AW Defendants. Here, the parties have agreed
to a limited, four-year time-period. AW Defendants believe that producing all bank records for
that period for each of the AW Defendants is a reasonable scope of production: (1) bank
transactions will show all incoming and outgoing cash flows, including any capitalizations, as
well as any transfers betweeen defendants; and, (2) providing all bank records ensures a
comprehensive record from which revenues and costs can be extrapolated.
        Importantly, Plaintiffs have since propounded further alter ego and profitability related
requests seeking more specific categories of documents over an 8 year period. AW Defendants
will respond to those requests accordingly, but, as reflected in the court’s Order (ECF 164 at21-
23), they are separate and distinct from the issues before the Court in this dispute.
       Regarding category (B) documents, there is agreement between the parties as to the
relevant 4-year period. AW Defendants believe a reasonable scope of production includes the
following:
         1. Annualized profit and loss records
         2. Upstream purchase order records
         3. Downstream sales records (via payments to AWD and AWP as reflected in the bank
            statements).
        First, as defendants have advised plaintiffs’ counsel, AWP and AWD do not have periodic
(monthly or quarterly) profit and loss or financial statements; nor profit and loss analysis of
individual products. Instead, these companies calculate profit or loss on an annual, aggregated
basis as part of their tax returns. AWD and AWP will produce their annualized Form 1120s,
which reflect the profitability of the companies. These portions of the tax returns will be
produced for the agreed upon period as well as AWD and AWP’s bank statements from which
the profit or loss is calculated. The combination of both categories of records will allow
plaintiffs to engage expert witness assistance to assess the profitability of the companies.
        The annual profit or loss for AWD and AWP represents incoming revenue and outgoing
costs for all products distributed by these companies, including Ultra Duster and OEM dusting
spray product. Profit, margin, and variable costs are not recorded or tracked on a product-by-
product basis, and so while AWD and AWP have no objection to, e.g., “variable costs” as a
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category, there are no such responsive documents. Thus, how much profit, or loss, is
attributable to dusting spray product is a matter for expert opinion, i.e., forensic accounting,
derived from reviewing tax and bank statements documents.
        Also, as to category (B) documents, Plaintiffs seek copies of downstream purchase
orders from Walmart to AWD and AWP for Ultra Duster and OEM dusting spray. AW
Defendants do not object to this category of request. AWD and AWP do not have possession
custody or control of Walmart Purchase Orders. As defendants have advised plaintiffs, AWD
and AWP sourced dusting spray product for Walmart by accessing information on Walmart’s
supplier portal which displays product inventory. AWD and AWP’s understanding is that
Walmart has, in this action, produced an Excel spreadsheet showing its Ultra Duster purchases
from AWD/AWP during the relevant time-period. In addition, it is believed Walmart will also
shortly produce the same spread sheet for the OEM brand “Surf Onn.”
        Finally, AWD will produce copies of any up-stream purchase order information for the
relevant time-period from AWD to Daiho. There are no purchase orders to ZLT (Green Island).
ZLT is a supplier of dusting spray. AWD and AWP conduct ordering with ZLT by telephone,
requesting a certain number of containers depending on retail customers product
requirements. Bills of Lading are deleted upon receipt of product, and Green Island invoices are
deleted upon payment. However, the bank records to be produced reflect payments to ZLT for
dusting spray. Those entries appear as electronic transfers to “Midland”.
        The fundamental point of difference between the parties at this stage, as AW
defendants understand it, is that plaintiffs now seek “flexibility” in the production, so as to
demand documents outside the agreed upon periods, if they are dissatisfied with the
production within those periods, and to demand production now of documents which are the
subject of its additional pending request. That position negates the agreement which the
parties have spent considerable time to negotiate.
         Respectfully submitted,

                 By: /s/ David Martinez
                          David Martinez, Counsel for Plaintiffs

                 By: /s/ _Philip Downs_
                          Philip Downs, Counsel for the AW Defendants except AW & HO, Inc.

                 By: /s/ _Steven Finley_
                          Steven Finley, Counsel AW & HO (Holdings), Inc.

                                        Signature Attestation

         In compliance with Civil Local Rule 5-1, the filer attests that all other signatories listed,
and on whose behalf this filing is submitted, concur in the filing’s content and have authorized
the filing. Executed this 18th day of January in 2022, at Los Angeles, California.

                                                    By: /s/ David Martinez
                                                             David Martinez


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